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        In the United States Court of Federal Claims
    * * * * * * * * * * * * * * * * **         *
   VISTA DEFENSE TECHNOLOGIES,                 *
   LLC,                                        *
                                               *
                      Protestor,               *
                                                   No. 19-1094C
                                               *
   v.                                              Filed: August 16, 2019
                                               *
   UNITED STATES,                              *
                                               *
                      Defendant.               *
    * * * * * * * * * * * * * * * * **         *


                                        ORDER

      The court is in receipt of protestor’s Notice of Voluntary Dismissal, filed August 15,
2019. Pursuant to Rule 41(a)(1)(A) of the Rules of the United States Court of Federal
Claims (2019), the court ORDERS that the above-captioned protest be DISMISSED
without prejudice.

              IT IS SO ORDERED.

                                                        s/Marian Blank Horn
                                                        MARIAN BLANK HORN
                                                                 Judge
